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                                IN THE UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF DELAWARE

         In re:
                                                                     Chapter 11
         THE WEINSTEIN COMPANY HOLDINGS,
         LLC, et al.,1                                               Case No. 18-10601 (MFW)

         Debtor.
         -------------------------------------------------------
         In re:

         AI INTERNATIONAL HOLDINGS (BVI)                             Adv. Pro. No. 18-50486 (MFW)
         LTD.,
                         Plaintiff,

                  -against-

         MUFG UNION BANK, N.A.; as
         administrative and collateral agent and
         UNION BANCAL EQUITIES, INC.

                                   Defendants.


                ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS MUFG UNION
                         BANK, N.A. AND UNIONBANCAL EQUITIES, INC.

                   Defendants MUFG Union Bank, N.A. and UnionBanCal Equities, Inc. (together, the

         “Defendants”), by and through undersigned counsel, hereby answer the Complaint [Adv. Docket

         No. 1]2 filed by AI International Holdings (BVI) Ltd. (“Plaintiff”) as follows:




         1
          1 The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837).
         The mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New
         York 10013. Due to the large number of debtors in these cases (“Debtors”), which are being jointly administered for
         procedural purposes only, a complete list of the debtors and the last four digits of their federal tax identification
         numbers is not provided herein. A complete list of such information may be obtained on the website of the debtors’
         claims and noticing agent at http://dm.epiq11.com/twc.
         2
          Capitalized terms used but not otherwise defined in this Answer shall have the meanings ascribed to them in the
         Complaint.
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                                             PRELIMINARY STATEMENT3

                 1.      The Court has entered an order approving the sale (“Sale”) of substantially all
         assets of the Debtors to Lantern Entertainment LLC (“Lantern” and “Sale Order”). [Docket No.
         846]. Debtors intend to pay the Defendants the lion's share of the purchase price at the closing of
         the Sale - apparently on the strength of a purchase price “allocation” term the Defendants
         demanded be inserted in the asset purchase agreement for the Sale in order to engineer the
         treatment of their claims as fully secured. However, the Sale Order expressly provides that the
         buyer's and sellers' “allocation” is not binding on the Court nor on and any other party-in-
         interest, and further provides Defendants must disgorge their closing payment upon a successful
         challenge by a party-in-interest.

                 ANSWER: Defendants admit that the Court entered the Sale Order approving the Sale of

         substantially all assets of the Debtors to Lantern. Defendants otherwise deny the allegations of

         Paragraph 1. By way of further response, Defendants state that the Sale Order is the best

         evidence of its contents and Defendants deny any allegations in Paragraph 1 to the extent they do

         not fully and accurately characterize the contents of the Sale Order.

                  2.      AI International is a party-in-interest holding a $46 million secured claim. By this
         action, it seeks declaration of the amount to be disgorged by Union Bank and Union Equities.4
         Specifically, it asks the Court to determine, after trial: i) the extent to which Union Bank and
         Union Equities have valid and enforceable liens on the property of the estate(s) included in the
         Sale; ii) the value of Union Bank's and Union Equity's liens on such property; and iii) the amount
         of the closing payment that exceeded such value and therefore must be disgorged.

                 ANSWER: Paragraph 2 consists of a summary of the nature of the action and argument.

         To the extent a response is required, Defendants deny the allegations in Paragraph 2.

                3.      Harvey Weinstein established a veritable labyrinth of companies to run his
         production business. Following reports of his sexual misconduct, the production business
         collapsed, and the companies filed bankruptcy.



         3
           The headings and sub-headings throughout the Complaint do not constitute well-pleaded allegations of fact and
         therefore require no response. To the extent a response is deemed required, they are denied.
         4
          Footnote 2 of the Complaint: AI International anticipates that the Sale will have closed and the proceeds will have
         been disbursed to Defendants by the time of trial.

         ANSWER: Defendants admit that the Sale has closed and that proceeds have been disbursed to Defendants pursuant
         to the terms and conditions of the Final DIP Order and the Sale Order. The remaining allegations in footnote 2 of
         the Complaint are denied.

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                ANSWER: Admitted upon information and belief.

                 4.     The Debtors had incurred loans secured by their assets. There was no single
         lender with a senior lien on substantially all assets of the Weinstein companies. Rather, the
         Debtors had taken loans secured by various pools of assets, which included intellectual property,
         rights under distribution agreements, and equity in subsidiaries. The Defendants, for example,
         have liens only upon the assets of one of the Debtors, TWC Domestic LLC.

                ANSWER: Defendants admit that the Debtors had loans secured by their assets, which

         included intellectual property, rights under distribution agreements, and equity in subsidiaries.

         Defendants otherwise deny the allegations of Paragraph 4.

                 5.      After filing bankruptcy, the Debtors proposed, and the Court approved, a sale of
         substantially all of their assets to a buyer for $310 million, subject to adjustment under the terms
         of the asset purchase agreement to the buyer. The sale proceeds will derive from the value of the
         various assets and classes of assets to be sold by the multiple Debtors. Under the Sale Order, the
         Court has reserved the determination of the allocation of the purchase price among the estates of
         the Debtors. To that end, it has ordered that the term of the asset purchase agreement for the Sale
         purporting to allocate a portion of the purchase price is not binding on the Court or parties-in-
         interest other than the buyers and the sellers.

                ANSWER: Defendants admit that the Court approved a sale of substantially all of the

         Debtors’ assets and that the sale proceeds were derived from the Debtors’ assets. Defendants

         deny the remaining allegations in Paragraph 5. By way of further response, Defendants state that

         the Lantern APA and Sale Order are the best evidence of their respective contents and

         Defendants deny any allegations in Paragraph 5 to the extent they do not fully and accurately

         characterize the contents of the Lantern APA or Sale Order.

                6.      AI International brings this action to ensure that Defendants do not retain
         proceeds of the Sale beyond what they are entitled to. Under the Bankruptcy Code, Defendants’
         claims are secured in the proceeds of the Sale only to the extent of the value of the assets
         included in the Sale on which they have valid and enforceable liens.

                ANSWER: Defendants deny the allegations made in the first sentence of Paragraph 6.

         The remaining allegations in Paragraph 6 constitute legal conclusions to which no response is

         required.


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                7.      AI International has a direct stake in the outcome of this action. If the Defendants
         are permitted to retain more money from the Sale than they are entitled to, AI International’s
         recoveries on account of its claims will be unjustly diminished.

                  ANSWER: Denied.

                 8.      This action constitutes a timely “challenge” under the order approving debtor-in-
         possession financing in these cases, as discussed below. AI International is an aggrieved party-
         in-interest with standing to make this challenge without leave of Court.5

                  ANSWER: Denied.

                                                               PARTIES

                 9.     AI International is a company formed under the laws of the British Virgin Islands
         with a business address at 40 West 57th Street, 28th Floor, New York, New York 10019.

                  ANSWER: Defendants are without information sufficient to form a belief as to the truth

         of the allegations of Paragraph 9 and therefore deny them.

                10.    Defendant Union Bank is a national banking association with headquarters
         located at 400 California Street, San Francisco, California 94104. Union Bank was formerly
         known as Union Bank, N.A.

                  ANSWER: Defendants admit that Union Bank has an office located at the address listed

         in Paragraph 10 and that it was formerly known as Union Bank, N.A. By way of further

         response, Defendants state that the address of its headquarters and principal place of business is

         1251 Avenue of the Americas, New York, New York 10020.

                 11.    Upon information and belief, Union Equities is an active corporation registered in
         the State of California located at 445 South Figueroa Street, Los Angeles, California 90071. Its
         mailing address is 400 California Street, MC 1-001-16, MUFG Union Bank, N.A. San Francisco,
         California 94104.



         5
           Footnote 3 of the Complaint: AI International is filing this complaint at this time to ensure its “challenge” is
         timely and is prepared to agree to temporarily stay this litigation pending the closing of the Sale, so that the exact
         amount of Sale proceeds are known. AI International is not seeking a determination of how much of the Sale
         proceeds it is entitled to an account of its own claims, but reserves the right to seek appropriate relief at a later time
         if it cannot reach a consensual agreement with the Debtors and Official Committee of Unsecured Creditors.

         ANSWER: Defendants deny that the Complaint constitutes a timely “Challenge” under the Final DIP Order. The
         remaining allegations of footnote 3 in the Complaint are also denied.
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                ANSWER: Defendants admit the allegations in the first sentence of Paragraph 11. The

         remaining allegations in Paragraph 11 are denied.

                                        JURISDICTION AND VENUE

                 12.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.
         §§ 157 and 1334. AI International brings this Complaint pursuant to Rule 7001 of the Federal
         Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), §§ 105(a), 502, and 506 of the United
         States Code (the “Bankruptcy Code”), and 28 U.S.C. § 2201.

                ANSWER: The allegations in Paragraph 12 constitute legal conclusions to which no

         response is required.

                13.     This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B), (K), and
         (O). Venue of this proceeding in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                ANSWER: The allegations in Paragraph 13 constitute legal conclusions to which no

         response is required. Pursuant to Bankruptcy Rule 7012(b) and Local Rule 7012-1, Defendants

         hereby give notice that they consent to entry of final orders or judgments by the Bankruptcy

         Court with respect to the claims asserted in the Complaint.

                                          FACTUAL ALLEGATIONS

         II.    THE WEINSTEIN COMPANIES, THE PARTIES, AND THE VARIOUS LOAN
                DOCUMENTS

                14.    The Weinstein Company Holdings, LLC (“Holdings”) is the parent holding
         company of, among others, Weinstein Television, LLC (“WTV”), The Weinstein Company,
         LLC (“TWC”), and TWC Borrower 2016, LLC (“TWC Borrower”). TWC is the parent company
         of Weinstein Global Film Corp. (“WGFC”) and TWC Domestic, LLC (“TWC Domestic”).

                ANSWER: Admitted upon information and belief.

                 15.    AI International is the lender under a Secured Full Recourse Promissory Note
         dated as of September 29, 2016 (as amended, modified, or supplemented, the “AI International
         Note”). A copy of the AI International Note is attached hereto as Exhibit A. Pursuant to the AI
         International Note, AI International agreed to loan $45 million to TWC Borrower (“AI
         International Loan”). The AI International Note is guaranteed by Holdings and Harvey
         Weinstein pursuant to a Guarantee dated September 29, 2016 by Holdings and a Guarantee dated
         September 29, 2016 by Harvey Weinstein (collectively, “AI International Guarantees”). The AI
         International Guarantees are attached hereto as Exhibit B. The AI International Loan is secured
         by a Pledge and Security Agreement dated September 29, 2016 (“AI International PSA”) with
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         TWC, Holdings and WGFC, which provides as collateral: i) all of TWC’s rights, title, and
         interest in all issued and outstanding capital stock of WGFC; ii) all of Holdings’ right, title, and
         interest in all issued and outstanding membership interests in WTV;6 and iii) WGFC’s right, title,
         and interest in the distribution and exploitation rights to the “Foreign Film Rights Collateral” as
         defined in the AI International PSA. The AI International PSA is attached hereto as Exhibit C.

                 ANSWER: Defendants are without information sufficient to form a belief as to the truth

         of the allegations of Paragraph 15 and therefore deny them.

                 16.    Each of Holdings and TWC scheduled AI International as a secured creditor
         holding a contingent and unliquidated, but undisputed claim (“Holdings Schedule D” and “TWC
         Schedule D”). [Docket Nos. 299, 320]. Copies of the relevant portions of Holdings Schedule D
         and TWC Schedule D are attached hereto as Exhibits D and E. TWC Borrower scheduled AI
         International as a secured creditor holding a contingent and unliquidated, but undisputed, claim
         of $45,528,134.18 (“TWC Borrower Schedule D”). A copy of the relevant portions of TWC
         Borrower Schedule D is attached hereto as Exhibit F.

                 ANSWER: Defendants admit that Plaintiff is listed in Holdings Schedule D, TWC

         Schedule D, and TWC Borrower Schedule D. By way of further response, Defendants state that

         Holdings Schedule D, TWC Schedule D, and TWC Borrower Schedule D are the best evidence

         of their respective contents and Defendants deny any allegations in Paragraph 16 to the extent

         they do not fully and accurately characterize the contents of Holdings Schedule D, TWC

         Schedule D or TWC Borrower Schedule D.

                 17.    AI International filed proofs of claims (“POCs”) against Holdings, TWC, WGFC,
         and TWC Borrower, asserting a secured claim of $46,336,790.99 (“Claim”) based on the AI
         International Note and the AI International PSA. The POCs are attached hereto as Exhibit G - J.

                 ANSWER: Defendants admit upon information and belief that Plaintiff filed the POCs.

         By way of further response, Defendants state that the POCs are the best evidence of their

         respective contents and Defendants deny any allegations in Paragraph 17 to the extent they do

         not fully and accurately characterize the contents of the POCs.

         6
           Footnote 4 of the Complaint: AI International’s security interest in Holdings’ membership interests in WTV is
         junior to that of Bank of America pursuant to a Subordination Agreement dated September 29, 2016.

         ANSWER: The allegations contained in footnote 4 of the Complaint constitute legal conclusions to which no
         response is required.
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                 18.    Union Bank is the administrative agent and letter of credit issuer under a Second
         Amended and Restated Credit and Security Agreement dated September 30, 2013 among Union
         Bank, TWC Domestic and the lenders referred to therein (“Union Bank Pre-Petition
         Agreement”). TWC Domestic’s obligations under the Union Bank Pre-Petition Agreement are
         guaranteed by TWC and secured by a first-priority lien on substantially all of TWC Domestic’s
         assets and a senior pledge of TWC’s equity in TWC Domestic. TWC Domestic scheduled Union
         Bank as a secured creditor holding an unliquidated claim of $156,411,347 (“TWC Domestic
         Schedule D”). A copy of the relevant portions of the TWC Domestic Schedule D is attached
         hereto as Exhibit K. TWC scheduled Union Bank as a secured creditor holding a contingent and
         unliquidated claim in an unknown amount. A copy of the relevant portion of the TWC Schedule
         D is attached hereto as Exhibit L.

                ANSWER: Admitted. By way of further response, Defendants state that the Union Bank

         Pre-Petition Agreement, TWC Domestic Schedule D, and TWC Schedule D are the best

         evidence of their respective contents and Defendants deny any allegations in Paragraph 18 to the

         extent they do not fully and accurately characterize the contents of the Union Bank Pre-Petition

         Agreement, TWC Domestic Schedule D, or TWC Schedule D.

                19.    Union Bank has not filed a proof of claim.

                ANSWER: Defendants admit that, as of August 27, 2018, Union Bank has not filed a

         proof of claim. By way of further response, Defendants state that a claims bar date has not yet

         been established in the Debtors’ Chapter 11 cases.

                 20.    Union Bank is also the administrative and collateral agent under the Debtor-in-
         Possession Loan and Security Agreement (“DIP Loan Agreement”). Pursuant to the DIP Loan
         Agreement, Holdings, TWC, and TWC Domestic may borrow up to $25 million from specified
         lenders (“DIP Loan”). The DIP Loan is secured by all present and after-acquired property of the
         Debtors, excluding avoidance actions under Chapter 5 of the Bankruptcy Code, commercial tort
         claims belonging to the Debtors or their estates, any claims arising out of the conduct of Harvey
         Weinstein, Robert Weinstein, or their non-debtor affiliates, and any claims against any party for
         contribution, reimbursement, or indemnification. The Court approved the DIP Loan Agreement
         and entered a final order on April 19, 2018 (“Final DIP Order”). The Final DIP Order is attached
         hereto as Exhibit M.

                ANSWER: Admitted. By way of further response, Defendants state that the DIP Loan

         Agreement and Final DIP Order are the best evidence of their respective contents and



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         Defendants deny any allegations in Paragraph 20 to the extent they do not fully and accurately

         characterize the contents of the DIP Loan Agreement or Final DIP Order.

                 21.     Union Equities is the administrative agent under a Credit and Security Agreement
         dated October 9, 2015 (as amended), among Union Equities, TWC Domestic and lenders
         referred to therein (“Union Equities Pre-Petition Agreement”). TWC Domestic’s obligations are
         secured by a junior lien on substantially all of TWC Domestic’s assets. TWC Domestic
         scheduled Union Equities as a secured creditor holding an unliquidated claim for
         $15,644,238.54. A copy of the relevant portions of the TWC Domestic Schedule D is attached
         hereto as Exhibit N.

                ANSWER: Admitted. By way of further response, Defendants state that the Union

         Equities Pre-Petition Agreement is the best evidence of its contents and Defendants deny any

         allegations in Paragraph 21 to the extent they do not fully and accurately characterize the

         contents of the Union Equities Pre-Petition Agreement.

                22.    Union Equities has not filed a proof of claim.

                ANSWER: Defendants admit that, as of August 27, 2018, Union Equities has not filed a

         proof of claim. By way of further response, Defendants state that a claims bar date has not yet

         been established in the Debtors’ Chapter 11 cases.

         III.   THE PROCEEDINGS IN THIS CASE

                A. THE BANKRUPTCIES

                  23.     On March 19, 2018 (“Petition Date”), Holdings, TWC, and various of their
         affiliates, including TWC Borrower, filed petitions for relief under Chapter 11 of the Bankruptcy
         Code. [Docket No. 1].

                ANSWER: Admitted.

                       i. THE DIP LOAN

                 24.    On March 20, 2018, the Debtors filed a motion for orders approving, among other
         things, post-petition financing (“DIP Loan Motion”). [Docket No. 11]. The Debtors attached a
         copy of the DIP Loan Agreement to the DIP Loan Motion.

                ANSWER: Defendants admit that the Debtors filed their DIP Loan Motion on March 20,

         2018. By way of further response, Defendants state that the DIP Loan Motion is the best
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         evidence of its contents and Defendants deny any allegations in Paragraph 24 to the extent they

         do not fully and accurately characterize the contents of the DIP Loan Motion.

                 25.    On March 20, 2018, the Court entered an order granting the DIP Loan Motion on
         an interim basis and scheduling a final hearing (“Interim DIP Loan Order”). [Docket No. 76].

                ANSWER: Defendants admit that the Court entered the Interim DIP Loan Order on

         March 20, 2018. By way of further response, Defendants state that the Interim DIP Loan Order

         is the best evidence of its contents and Defendants deny any allegations in Paragraph 25 to the

         extent they do not fully and accurately characterize the contents of the Interim DIP Loan Order.

                 26.   On April 17, 2018, the Court entered the Final DIP Order, which is attached
         hereto as Exhibit M. [Docket No. 267]. In the Final DIP Order, the Court ordered:

                        Investigation Rights. The Committee shall have until April 27, 2018 . . .
                        and all other non-debtor parties-in-interest . . . shall have seventy-five (75)
                        days from the Petition Date (each, as applicable, the “Investigation
                        Termination Date”) to investigate the validity, perfection and
                        enforceability of the Pre-Petition Liens and the Pre-Petition Obligations as
                        well as the junior liens held by [Union Equities] . . . and to assert any other
                        claims or causes of action against the Pre-Petition Secured parties or
                        [Union Equities]. The Committee or other non-debtor party in-interest . . .
                        shall have only until the applicable Investigation Termination Date to file
                        such objection or claim . . . setting forth the basis of any such challenge,
                        claim or cause of action; provided, however, that nothing contained in the
                        DIP Loan [d]ocuments or this Final [DIP] Order shall be deemed to confer
                        standing on any party-in-interest to commence a challenge.

         Final DIP Order ¶ 16.

                ANSWER: Defendants admit that the Court entered the Final DIP Order on April 17,

         2018. The remaining allegations in Paragraph 26 constitute legal conclusions to which no

         response is required. By way of further response, Defendants state that the Final DIP Order is

         the best evidence of its contents and Defendants deny any allegations in Paragraph 26 to the

         extent they do not fully and accurately characterize the contents of the Final DIP Order.

                27.     In paragraph 28 of the Final DIP Order, the Court ordered:


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                          Sale Proceeds. Unless . . . a [c]hallenge is asserted prior to the applicable
                          Investigation Termination Date and sustained by the Court prior to the
                          closing of any sale of the Pre-Petition Collateral, the DIP Secured Parties,
                          the Pre-Petition Secured Parties, and the UBE Secured Parties shall,
                          subject to satisfaction of Permitted Priority Liens from and to the extent of
                          the proceeds of collateral securing such Permitted Priority Liens, be paid
                          in cash upon the closing of a sale of Pre-Petition Collateral, subject to
                          disgorgement to the extent any [c]hallenge asserted in accordance with
                          the terms of this Final [DIP] Order is ultimately sustained by the Court.

         Final DIP Order ¶ 28 (emphasis added).

                 ANSWER: The allegations in Paragraph 27 constitute legal conclusions to which no

         response is required. By way of further response, Defendants state that the Final DIP Order is

         the best evidence of its contents and Defendants deny any allegations in Paragraph 27 to the

         extent they do not fully and accurately characterize the contents of the Final DIP Order.

                          ii. THE SALE MOTION

                 28.     On March 20, 2018, the Debtors filed a motion to approve bidding procedures for
         the sale of substantially all of their assets, to schedule an auction, and to ultimately approve the
         sale of substantially all of their assets (“Sale Motion”). [Docket No. 8]. The Debtors sought
         approval of an asset purchase agreement with Lantern (“Lantern APA”) attached to the Sale
         Motion, subject to higher and better offers. Under the Lantern APA, Lantern would purchase
         substantially all of the Debtors’ assets for $310 million, subject to certain adjustments, payment
         of certain cure amounts, and assumption of certain liabilities.7 Section 2.7 of the Lantern APA
         provides:

                          Aggregate Purchase Price. . . . Each of Buyer and each Seller Party
                          hereby acknowledges and agrees that the Cash Purchase Price shall be
                          allocated such that (i) the value of the Purchased Assets that comprise the
                          TWC Domestic Collateral is greater than the sum of (v) the TEC Domestic
                          Debt (in the amount, as of the date hereof, of approximately $175 million .
                          . ., plus (w) the principal amount outstanding under the DIP [Loan]
                          Agreement . . . provided that such principal amount, for purposes of this
                          Section . . . shall not be in excess of $26 million, plus (x) all Guild
                          Residuals secured by the TWC Domestic Collateral and accrued prior to
                          the Petition Date (in the amount, as of the date hereof, of approximately
                          $8 million), plus (y) the amount of all interest accrued and unpaid after the
         7
          Footnote 5 of the Complaint: AI International reserves all rights to amend this Complaint for any reason to the
         extent permitted by law, including if the Debtors and Lantern execute any amendments to the Lantern APA.

         ANSWER: Defendants state that whether the Plaintiff is entitled (or otherwise permitted by the Court) to amend the
         Complaint is a legal conclusion to which no response is required.
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                          Petition Date through the Closing Date on the amount described in the
                          preceding clauses (i)(v) through (i)(x), minus (z) any principal payments
                          on the amounts described in the preceding clauses (i)(v) through (i)(x)
                          after the Petition Date and through the Closing Date.

                   ANSWER: Defendants admit that the Debtors filed the Sale Motion on March 20, 2018.

         By way of further response, Defendants state that the Sale Motion and the Lantern APA are the

         best evidence of their respective contents and Defendants deny any allegations in Paragraph 28

         to the extent they do not fully and accurately characterize the contents of the Sale Motion and the

         Lantern APA.

                29.    On April 6, 2018, the Court entered an order approving the Debtors’ proposed
         bidding procedures and scheduling an auction on May 4, 2018. [Docket No. 190].

                   ANSWER: Admitted. By way of further response, Defendants state that the referenced

         order [Docket No. 190] is the best evidence of its contents and Defendants deny any allegations

         in Paragraph 29 to the extent they do not fully and accurately characterize the contents of the

         Court’s order.

                30.     On May 1, 2018, the Debtors filed a notice stating that the auction had been
         cancelled and designating Lantern as the successful bidder. [Docket No. 653].

                   ANSWER: Admitted. By way of further response, Defendants state that the referenced

         notice [Docket No. 653] is the best evidence of its contents and Defendants deny any allegations

         in Paragraph 30 to the extent they do not fully and accurately characterize the contents of the

         notice.

                 31.    On May 9, 2018, the Court entered the Sale Order granting the Sale Motion and
         approving the Sale. [Docket No. 846]. A copy of the Sale Order is attached hereto as Exhibit P.
         In paragraph 26 of the Sale Order, the Court ordered that “[t]he proceeds of the Sale Transaction
         remaining after the payments expressly authorized by this Order shall be segregated and shall not
         be used absent further order of the Court.” In paragraph 62, the Court ordered: “[t]he allocation
         of Cash Purchase Price set forth in section 2.7 of the [Lantern] APA shall not be binding on any
         party in interest other than as between the Debtors and the Purchasers and shall not bind the
         Court in determining the allocation of the remaining proceeds of the Sale Transaction.”


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                ANSWER: Defendants admit that the Court entered the Sale Order on May 9, 2018. By

         way of further response, Defendants state that the Sale Order is the best evidence of its contents

         and Defendants deny any allegations in Paragraph 31 to the extent they do not fully and

         accurately characterize the contents of the Sale Order. Defendants further state that the language

         quoted from Paragraph 62 of the Sale Order omits, among other parts of that provision of the

         Sale Order, “except as expressly set forth in in section 2.7(i) of the APA…”

                B.      ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

                32.    The principal source of distributions to AI International and other prepetition
         secured and unsecured creditors will be the proceeds from the Sale. Before any such distributions
         may be made, the Court must allocate the purchase price among the assets sold by the various
         Debtors, and determine the extent of any liens on such assets.

                ANSWER: Denied.

                33.    There has been no final determination of the validity, priority, or extent of Union
         Bank’s or Union Equities’ liens in connection with the DIP Loan Agreement or the Sale.

                ANSWER: Denied.

                 34.    In order to determine whether any of the proceeds to be paid to Union Bank and
         Union Equities at the closing are subject to disgorgement, it is necessary for the Court to
         determine: i) whether and to what extent Union Bank and Union Bank Equities have valid and
         enforceable liens extending to assets that are included in the Sale; and ii) the value of any such
         assets.

                ANSWER: Denied.

                                             CLAIMS FOR RELIEF

                                                   COUNT ONE

                      Determination of the Extent of the Lien Claimed by Union Bank
                               [11 U.S.C. § 506; Bankruptcy Rule 7001(2)]
                                           (Against Union Bank)

                35.     AI International restates the allegations in paragraphs 1 through 34 above.

                ANSWER: Defendants repeat and reallege their responses to each and every allegation

         contained in Paragraphs 1 through 34 as if fully set forth herein.
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                 36.     Pursuant to Bankruptcy Code § 506(a), Union Bank’s claim is secured only to the
         extent “of the value of [its] interest in the estate’s interest in such property.”

                ANSWER: The allegations in Paragraph 36 constitute legal conclusions to which no

         response is required.

                 37.    AI International is entitled to a determination of the extent to which the assets of
         the estate of TWC Domestic which were included in the Sale, if any, were subject to the lien
         claimed by Union Bank.

                ANSWER: Denied.

                38.     AI International is entitled to a determination of whether the lien claimed by
         Union Bank in the assets of TWC Domestic which were included in the Sale, if any, was valid,
         perfected and enforceable with respect to such assets.

                ANSWER: Denied.

                39.     AI International is entitled to a valuation of the assets of TWC Domestic which
         were subject to a valid, perfected and enforceable lien in favor of Union Bank, if any, in order to
         determine the secured status of Union Bank's claim to the proceeds of the Sale.

                ANSWER: Denied.

                                                  COUNT TWO

                      Determination of the Extent of the Lien Claimed by Union Equities
                                 [11 U.S.C § 506; Bankruptcy Rule 7001(2)]
                                           (Against Union Equities)

                40.      AI International restates the allegations in paragraphs 1 through 39 above.

                ANSWER: Defendants repeat and reallege their responses to each and every allegation

         contained in Paragraphs 1 through 39 as if fully set forth herein.

                 41.     Pursuant to Bankruptcy Code § 506(a), Union Equities’ claim is secured only to
         the extent “of the value of [its] interest in the estate’s interest in such property.”

                ANSWER: The allegations in Paragraph 41 constitute legal conclusions to which no

         response is required.

                 42.    AI International is entitled to a determination of the extent to which the assets of
         the estate of TWC Domestic which were included in the Sale, if any, were subject to the lien
         claimed by Union Equities.
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                ANSWER: Denied.

                 43.     AI International is entitled to a determination of whether the lien claimed by
         Union Equities in the assets of TWC Domestic which were included in the Sale, if any, was
         valid, perfected and enforceable with respect to such assets.

                ANSWER: Denied.

                 44.    AI International is entitled to a valuation of the assets of TWC Domestic which
         were subject to a valid, perfected and enforceable lien in favor of Union Equities, if any, in order
         to determine the secured status of its claim on the proceeds of the Sale.

                ANSWER: Denied.

                                                 COUNT THREE

                                              Objection to Claim
                                   [11 U.S.C. § 502; Bankruptcy Rule 3007]
                                            (Against Union Bank)

                45.     AI International restates the allegations in paragraphs 1 through 44 above.

                ANSWER: Defendants repeat and reallege their responses to each and every allegation

         contained in Paragraphs 1 through 44 as if fully set forth herein.

                46.     TWC Domestic scheduled Union Bank as a secured creditor holding an
         unliquidated claim.

                ANSWER: Defendants admit that Union Bank is listed in TWC Domestic Schedule D.

         By way of further response, Defendants state that TWC Domestic Schedule D is the best

         evidence of its contents and Defendants deny any allegations in Paragraph 46 to the extent they

         do not fully and accurately characterize the contents of TWC Domestic Schedule D.

                47.     TWC scheduled Union Bank as a secured creditor holding a contingent and
         unliquidated claim.

                ANSWER: Defendants admit that Union Bank is listed in TWC Schedule D. By way of

         further response, Defendants state that TWC Schedule D is the best evidence of its contents and



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         Defendants deny any allegations in Paragraph 47 to the extent they do not fully and accurately

         characterize the contents of TWC Schedule D.

                48.     Union Bank has not filed any proof of claim in any of the Debtors’ cases.

                ANSWER: Defendants admit that, as of August 27, 2018, Union Bank has not filed a

         proof of claim. By way of further response, Defendants state that a claims bar date has not yet

         been established in the Debtors’ Chapter 11 cases.

                 49.    AI International is thus entitled to a judgment that Union Bank’s claim is
         disallowed and that Union Bank may not be treated as a creditor with respect to any claim for the
         purposes of voting and distribution; or, in the alternative, that Union Bank’s claim be disallowed
         as a secured claim to the extent it exceeds the value of Union Bank’s lien on the assets of the
         estate of TWC Domestic.

                ANSWER: Denied.

                                                  COUNT FOUR

                                              Objection to Claim
                                   [11 U.S.C. § 502; Bankruptcy Rule 3007]
                                           (Against Union Equities)

                50.     AI International the allegations in paragraphs 1 through 49 above.

                ANSWER: Defendants repeat and reallege their responses to each and every allegation

         contained in Paragraphs 1 through 49 as if fully set forth herein.

                51.     TWC Domestic scheduled Union Equities as a secured creditor holding an
         unliquidated claim.

                ANSWER: Defendants admit that Union Equities is listed in TWC Domestic Schedule

         D. By way of further response, Defendants state that TWC Domestic Schedule D is the best

         evidence of its contents and Defendants deny any allegations in Paragraph 51 to the extent they

         do not fully and accurately characterize the contents of TWC Domestic Schedule D.

                52.     Union Equities has not filed any proof of claim in any of the Debtors’ cases.



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                ANSWER: Defendants admit that, as of August 27, 2018, Union Equities has not filed a

         proof of claim. By way of further response, Defendants state that a claims bar date has not yet

         been established in the Debtors’ Chapter 11 cases.

                 53.     AI International is thus entitled to a judgment that Union Equities’ claim is
         disallowed and that Union Equities may not be treated as a creditor with respect to any claim for
         the purposes of voting and distribution; or, in the alternative, that Union Equities’ claim be
         disallowed as a secured claim to the extent it exceeds the value of Union Equities’ lien on the
         assets of the estate of TWC Domestic.

                ANSWER: Denied.

                                                  COUNT FIVE

          Declaration of the Amount of Sale Proceeds Required to be Disgorged by Union Bank
                              [28 U.S.C. § 2201; Bankruptcy Rule 7001(9)]
                                          (Against Union Bank)

                54.     AI International restates the allegations in paragraphs 1 through 53 above.

                ANSWER: Defendants repeat and reallege their responses to each and every allegation

         contained in Paragraphs 1 through 53 as if fully set forth herein.

                 55.     Union Bank’s claim is a secured claim only to the extent of the value of its
         interest in property of the estate of TWC Domestic.

                ANSWER: The allegations in Paragraph 55 constitute legal conclusions to which no

         response is required.

                 56.    Union Bank is not entitled to retain any money, property, or proceeds from the
         Sale that exceed the value of its interest in the property of TWC Domestic subject to a valid,
         perfected, and enforceable lien in favor of Union Bank, if any, on assets which were included in
         the Sale.

                ANSWER: Denied.

                57.    Union Bank is required to disgorge any money, property, or proceeds it may
         receive upon closing of the Sale to the extent it exceeds the value of the property of the estate of
         TWC Domestic subject to a valid, perfected, and enforceable lien in favor of Union Bank, if any,
         which were included in the Sale.

                ANSWER: Denied.

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                 58.     AI International is entitled to a judgment declaring that Union Bank must
         disgorge the excess of the money, property, or proceeds it receives at the closing of the Sale over
         the value of the assets of the estate of TWC Domestic included in the Sale which are subject to a
         valid, perfected, and enforceable lien in favor of Union Bank, in an amount to be proved at trial.

                  ANSWER: Denied.

                                                   COUNT SIX

                Declaration of the Amount of Sale Proceeds Required to be Disgorged by Union
                                                   Equities
                                 [28 U.S.C. § 2201; Bankruptcy Rule 7001(9)]
                                           (Against Union Equities)

                  59.    AI International restates the allegations in paragraphs 1 through 58 above.

                  ANSWER: Defendants repeat and reallege their responses to each and every allegation

         contained in Paragraphs 1 through 58 as if fully set forth herein.

                 60.     Union Equities’ claim is a secured claim only to the extent of the value of its
         interest in property of the estate of TWC Domestic.

                  ANSWER: The allegations in Paragraph 60 constitute legal conclusions to which no

         response is required.

                61.     Union Equities is not entitled to retain any money, property, or proceeds from the
         Sale that exceed the value of its interest in the property of TWC Domestic subject to a valid,
         perfected, and enforceable lien in favor of Union Equities, if any, which were included in the
         Sale.

                  ANSWER: Denied.

                62.    Union Equities is required to disgorge any money, property, or proceeds it may
         receive upon closing of the Sale to the extent it exceeds the value of the property of the estate of
         TWC Domestic subject to a valid, perfected, and enforceable lien in favor of Union Equities, if
         any, which were included in the Sale.

                  ANSWER: Denied.

                 63.    AI International is entitled to a judgment declaring that Union Equities must
         disgorge the excess of the money, property, or proceeds it receives at the closing of the Sale over
         the value of the assets of the estate of TWC Domestic included in the Sale which are subject to a
         valid, perfected, and enforceable lien in favor of Union Equities, in an amount to be proved at
         trial.

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                  ANSWER: Denied.

                                                PRAYER FOR RELIEF

                  Defendants deny that the Plaintiff is entitled to any of the relief set forth in the “Prayer

         for Relief” section of the Complaint and deny all allegations contained therein.

                                            AFFIRMATIVE DEFENSES

                  Without assuming any burden of proof or persuasion they would not otherwise bear,

         Defendants assert the following affirmative defenses. Nothing stated herein is intended or shall

         be construed as an admission that any particular issue or subject matter is relevant to this action.

                  1.     The Complaint fails to state a claim that entitles the Plaintiff to any relief against

         Defendants.

                  2.     The Plaintiff lacks standing to pursue some or all of its claims asserted in the

         Complaint.

                  3.     The Plaintiff is not entitled to the remedies sought in the Prayer for Relief section

         of the Complaint.

                  4.     Some or all of the claims in the Complaint are barred by the doctrines of res

         judicata and/or collateral estoppel.

                  5.     Some or all of the claims in the Complaint are barred by the doctrines of waiver

         and/or acquiescence.

                  6.     Some or all of the claims in the Complaint are barred pursuant to the Final DIP

         Order.

                  7.     Some or all of the claims in the Complaint are barred pursuant to the Sale Order.

                  8.     Some of all of the claims in the Complaint are (or will be) rendered moot.

                  Defendants expressly reserve the right to amend and/or supplement their affirmative and

         other defenses.
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                  WHEREFORE, Defendants respectfully pray for judgment in their favor on all Counts

         set forth in the Complaint and for such other and further legal and equitable relief as the Court

         deems just and proper, including, without limitation, the costs and fees incurred by Defendants.

         Dated:    August 27, 2018               /s/ Sean M. Beach
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